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 3   Sacramento, California 95814
     Telephone: (916) 441-4540
 4   Facsimile: (916) 441-4760
     Email: tedmonlaw@comcast.net
 5
     Attorney for Defendant
 6   CHARLES HEAD
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                   )
                                                 )
11                         Plaintiff,            )       No. CR. S-08-0093 FCD
                                                 )
12                                               )       STIPULATION AND ORDER
                   v.                            )       CONTINUING STATUS CONFERENCE;
13                                               )       EXCLUSION OF TIME
     CHARLES HEAD, et al.,                       )
14                                               )
                           Defendants.           )
15                                               )
16          The United States of America, through Assistant U.S. Attorney Ellen V. Endrizzi, and
17   defendant Charles Head, through his counsel Scott L. Tedmon; defendant Jeremy Head, through his
18   counsel Christopher Haydn-Myer; defendant Elham Assadi, through his counsel H. Dean Steward;
19   defendant Leonard Bernot, through his counsel Bruce Locke; defendant Akemi Bottari, through his
20   counsel Edward M. Robinson; defendant Joshua Coffman, through his counsel John Balazs;
21   defendant John Corcoran, through his counsel Matthew C. Bockmon; defendant Sarah Mattson,
22   through her counsel Steven D. Bauer; defendant Domonic McCarns, through his counsel James R.
23   Greiner; defendant Omar Sandavol, through his counsel Michael B. Bigelow; defendant Xochitl
24   Sandoval, through her counsel Candace A. Fry; defendant Eduardo Vanegas, through his counsel
25   Robert J. Peters; defendant Andrew Vu, through his counsel Stanley I. Greenberg; defendant Justin
26   Wiley, through his counsel Clyde M. Blackmon; and defendant Kou Yang, through her counsel
27   Joseph H. Low IV, hereby stipulate that the Status Conference set for Monday, November 17, 2008
28   at 10:00 a.m., be continued to Monday, December 15, 2008 at 10:00 a.m. before United States

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 1   District Judge Frank C. Damrell, Jr.
 2             The government has provided the initial volume of discovery to defense counsel which is
 3   in excess of 23,000 pages. Additionally, defense counsel has been informed there are a voluminous
 4   number of bankers boxes which contain several hundred-thousand pages of documents seized from
 5   the various searches. Counsel for the various defendants are in the midst of reviewing the initial
 6   volume of discovery and need additional time to continue that process as well as identify legal issues
 7   and discuss the matter with their respective clients. Beyond the initial volume of discovery
 8   produced by the government to the defendants, the additional materials referenced previously have
 9   not yet been reviewed by defense counsel. Finally, continuing the status conference to December
10   15, 2008 promotes judicial economy given that the hearing on defendant Charles Head’s motion to
11   dismiss is already set for December 15, 2008 at 10:00 a.m. before Judge Damrell.
12             As such, government and defense counsel stipulate it is appropriate to continue the current
13   status conference to Monday, December 15, 2008 at 10:00 a.m. Michele Krueger has approved the
14   December 15, 2008 hearing date. No jury trial date has been set in this case.
15             The parties stipulate the Court should find that time be excluded through December 15, 2008
16   under the Speedy Trial Act based on complexity and the need of counsel to prepare pursuant to 18
17   U.S.C. §3161(h)(8)(B)(ii) and (iv); Local Code T2 and Local Code T4. The parties stipulate and
18   agree that the interests of justice served by granting this continuance outweigh the best interests of
19   the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
20             Finally, Scott L. Tedmon has been authorized by counsel to sign this stipulation on their
21   behalf.
22   IT IS SO STIPULATED.
23   DATED: November 7, 2008                        McGREGOR W. SCOTT
                                                    United States Attorney
24
                                                     /s/ Ellen V. Endrizzi
25                                                  ELLEN V. ENDRIZZI
                                                    Assistant U.S. Attorney
26
27
28

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 1   DATED: November 7, 2008           LAW OFFICES OF SCOTT L. TEDMON
 2                                      /s/ Scott L. Tedmon
                                       SCOTT L. TEDMON
 3                                     Attorney for Defendant Charles Head
 4
 5   DATED: November 7, 2008           LAW OFFICE OF CHRISTOPHER HAYDN-MYER
 6                                     /s/ Christopher Haydn-Myer
                                       CHRISTOPHER HAYDN-MYER
 7                                     Attorney for Defendant Jeremy Head
 8
     DATED: November 7, 2008           LAW OFFICES OF H. DEAN STEWARD
 9
                                       /s/ H. Dean Steward
10                                     H. DEAN STEWARD
                                       Attorney for Defendant Elham Assadi
11
12   DATED: November 7, 2008           LAW OFFICES OF MOSS & LOCKE
13                                     /s/ Bruce Locke
                                       BRUCE LOCKE
14                                     Attorney for Defendant Leonard Bernot
15
     DATED: November 7, 2008           LAW OFFICE OF EDWARD M. ROBINSON
16
                                       /s/ Edward M. Robinson
17                                     EDWARD M. ROBINSON
                                       Attorney for Defendant Akemi Bottari
18
19   DATED: November 7, 2008           LAW OFFICE OF JOHN BALAZS
20                                      /s/ John Balazs
                                       JOHN BALAZS
21                                     Attorney for Defendant Joshua Coffman
22
     DATED: November 7, 2008           OFFICE OF THE FEDERAL DEFENDER
23
                                       /s/ Matthew Bockmon
24                                     MATTHEW BOCKMON
                                       Attorney for Defendant John Corcoran
25
26   DATED: November 7, 2008           LAW OFFICES OF STEVEN D. BAUER
27                                     /s/ Steven D. Bauer
                                       STEVEN D. BAUER
28                                     Attorney for Defendant Sarah Mattson

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 1   DATED: November 7, 2008           LAW OFFICES OF JAMES R. GREINER
 2                                      /s/ James R. Greiner
                                       JAMES R. GREINER
 3                                     Attorney for Defendant Domonic McCarns
 4   DATED: November 7, 2008           LAW OFFICE OF MICHAEL B. BIGELOW
 5                                     /s/ Michael B. Bigelow
                                       MICHAEL B. BIGELOW
 6                                     Attorney for Defendant Omar Sandoval
 7
     DATED: November 7, 2008           LAW OFFICE OF CANDACE A. FRY
 8
                                       /s/ Candace A. Fry
 9                                     CANDACE A. FRY
                                       Attorney for Defendant Xochitl Sandoval
10
11   DATED: November 7, 2008           LAW OFFICES OF ROBERT J. PETERS
12                                     /s/ Robert J. Peters
                                       ROBERT J. PETERS
13                                     Attorney for Defendant Eduardo Vanegas
14
     DATED: November 7, 2008           LAW OFFICE OF STANLEY I. GREENBERG
15
                                       /s/ Stanley I. Greenberg
16                                     STANLEY I. GREENBERG
                                       Attorney for Defendant Andrew Vu
17
18   DATED: November 7, 2008           BLACKMON & ASSOCIATES
19                                     /s/ Clyde M. Blackmon
                                       CLYDE M. BLACKMON
20                                     Attorney for Defendant Justin Wiley
21
     DATED: November 7, 2008           THE LAW FIRM OF JOSEPH H. LOW IV
22
                                        /s/ Joseph H. Low IV
23                                     JOSEPH H. LOW IV
                                       Attorney for Defendant Kou Yang
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 1                                                ORDER
 2          GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
 3   ORDERED that the Status Conference now scheduled for Monday, November 17, 2008 at 10:00
 4   a.m., is hereby continued to Monday, December 15, 2008 at 10:00 a.m., before the Honorable Frank
 5   C. Damrell, Jr. Based upon the above stipulation, the Court finds that time be excluded under the
 6   Speedy Trial Act for complexity and need of counsel to prepare pursuant to 18 U.S.C.
 7   §3161(h)(8)(B)(ii) and (iv), Local Code T2 and Local Code T4, through the Status Conference date
 8   of December 15, 2008.      The Court finds that the interests of justice served by granting this
 9   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
10   § 3161(h)(8)(A).
11          IT IS SO ORDERED.
12   DATED: November 7, 2008
                                                   _______________________________________
13                                                 FRANK C. DAMRELL, JR.
                                                   UNITED STATES DISTRICT JUDGE
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